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 1                                                          The Honorable Ronald B. Leighton
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                           UNITED STATES DISTRICT COURT FOR THE
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 8
 9   UNITED STATES OF AMERICA,                           NO. CR18-5579RBL
10                          Plaintiff,
                                                         UNITED STATES’
11                    v.                                 MOTION TO SEAL
12   MICHAEL JOHN SCOTT,
13                          Defendant.
14
15         The United States of America, by and through Brian T. Moran, United States
16 Attorney for the Western District of Washington, and Karyn S. Johnson, Assistant United
17 States Attorney for said District, files this motion respectfully requesting that the
18 Government’s exhibits 1, 2, 5, 6 and 7 to the Government’s Sentencing Memorandum, in
19 the above-captioned matter be filed under seal and be allowed to remain under seal
20 because they contain sensitive information not for public consumption. Copies have been
21 provided to opposing counsel.
22         DATED this 17th day of January, 2020.
23                                                    Respectfully submitted,
24
                                                      BRIAN T. MORAN
25                                                    United States Attorney
26
                                                      /s/ Karyn S. Johnson
27                                                    KARYN S. JOHNSON
                                                      Assistant United States Attorney
28
     UNITED STATES’ MOTION TO SEAL - 1                                    UNITED STATES ATTORNEY
                                                                          1201 PACIFIC AVENUE, SUITE 700
     CR18-5579RBL
                                                                           TACOMA, WASHINGTON 98402
                                                                                  (253) 428-3800
             Case 3:18-cr-05579-RJB Document 1021 Filed 01/17/20 Page 2 of 2




1
                                  CERTIFICATE OF SERVICE
2
            I hereby certify that on January 17, 2020, I electronically filed the foregoing with
3
     the Clerk of the Court using the CM/ECF system which will send notification of such
4
     filing to the attorney of record for the defendant.
5
6
7                                                       /s/ Lisa Crabtree
                                                       LISA CRABTREE
8                                                      Paralegal
9                                                      United States Attorney’s Office
                                                       1201 Pacific Avenue, Suite 700
10                                                     Tacoma, Washington 98402
11                                                     Telephone: (253) 428-3800
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      UNITED STATES’ MOTION TO SEAL - 2                                   UNITED STATES ATTORNEY
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      CR18-5579RBL
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